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William P. Deni, Jr.
Charles H. Chevalier
J. Brugh Lower
GIBBONS P.C.
One Gateway Center
Newark, New Jersey 07102
Tel: (973) 596-4500
Fax: (973) 596-0545

Attorneys for Plaintiffs

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


 BAUSCH HEALTH IRELAND LIMITED
 and ASSERTIO THERAPEUTICS INC.,                              Civil Action No. 19-12045

                           Plaintiffs,                      Document Electronically Filed

           v.

 GLENMARK PHARMACEUTICALS
 LIMITED,

                           Defendant.



                                         COMPLAINT

       This is a patent infringement action brought by Plaintiffs Bausch Health Ireland Limited

(“Bausch Ireland”) and Assertio Therapeutics Inc. (“Assertio”) (collectively “Plaintiffs”) for

infringement of U.S. Patent Nos. 6,488,962 (the “’962 Patent”), 6,723,340 (the “’340 Patent”),

7,780,987 (the “’987 Patent”) and 8,323,692 (the “’692 Patent) (collectively “Patents-in-Suit”) by

Defendant Glenmark Pharmaceuticals Limited (“Glenmark” or “Defendant”), through the filing

of Abbreviated New Drug Application (“ANDA”) No. 212969 for the approval of Defendant’s

generic version of Plaintiffs’ Glumetza® products described therein. Plaintiffs hereby allege as

follows:
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                                            THE PARTIES

       1.         Plaintiff Bausch Ireland is a private company incorporated in Ireland with its office

located at 3013 Lake Drive, Citywest Business Campus, Dublin 24, Ireland.

       2.         Plaintiff Assertio is a corporation organized and existing under the laws of

Delaware, having a principal place of business at 100 S. Saunders Road, Suite 300, Lake Forest,

Illinois 60045.

       3.         Upon information and belief, defendant Glenmark is a corporation organized and

existing under the laws of India with its principal place of business at Glenmark Pharmaceuticals

Limited, B/2, Mahalaxmi Chambers, 22, Bhulabhai Desai Road, Mumbai, India – 400 026.

       4.         On information and belief, Glenmark together with its subsidiaries, develops,

manufactures, and markets pharmaceutical products in India, the United States, Latin America,

Europe, and internationally.

                                    NATURE OF THE ACTION

       5.         This is a civil action for infringement of the Patents-in-Suit. This action arises

under the Patent Laws of the United States, 35 U.S.C. § 100 et seq.

       6.         This action arises out of Glenmark filing ANDA No. 212969 (“Glenmark ANDA”)

including their “Paragraph IV” certification under 21 U.S.C. § 355(j)(2)(A)(vii)(IV) alleging, inter

alia, that the Patents-in-Suit are invalid, unenforceable, and or will not be infringed by the

commercial manufacture, use or sale of the Glenmark ANDA Products.

                                   JURISDICTION AND VENUE

       7.         The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331 and 1338(a).




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        8.       This Court has personal jurisdiction over Glenmark by virtue of, inter alia, the fact

that it has committed, or aided, abetted, contributed to, and/or participated in the commission of,

the tortious act of patent infringement that has led to foreseeable harm and injury to Plaintiff in

this District.

        9.       This Court has personal jurisdiction over Glenmark for the further reasons that,

inter alia, Glenmark (1) has substantial, continuous, and systematic contacts with this State, (2)

markets, sells, and/or distributes generic pharmaceutical drug products to residents of this State,

(3) intentionally markets and sells generic pharmaceutical drug products to residents of this State,

(4) maintains a broad distributorship network within this State, and (5) enjoys substantial income

from sales of its generic pharmaceutical products in this State.

        10.      Upon information and belief Glenmark Generics Inc., USA (“GGI”) (formerly

known as Glenmark Pharmaceuticals Inc., USA), is a corporation organized and existing under the

laws of the State of Delaware, having a principal place of business at 750 Corporate Drive,

Mahwah, New Jersey 07430.

        11.      Upon information and belief GGI is the North American division of Glenmark

Generics Ltd., which is a wholly-owned subsidiary of Glenmark.

        12.      Glenmark through its subsidiaries and various agents (for example GGI) offers

generic pharmaceutical products for sale in New Jersey and elsewhere in the United States and

earns revenue from the distribution and sale in New Jersey of its generic pharmaceutical products.

        13.      Upon information and belief, this Court has personal jurisdiction over Glenmark

because, on information and belief, Glenmark will collaborate with GGI for the purposes of

marketing and selling the Glenmark ANDA Products once approved by the FDA. Upon

information and belief, Glenmark conducts business through and with GGI and Glenmark Generics




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Ltd., its wholly-owned subsidiaries. Glenmark has purposefully directed activities at the State of

New Jersey and this litigation relates to or arises out of those activities. Glenmark directly or

through its affiliates and agents develops, formulates, synthesizes, manufactures, markets, imports,

offers to sell, and/or sells pharmaceutical drug products including the Glenmark ANDA Products.

        14.        In the alternative, Plaintiffs are further informed and believe, and on that basis

allege, that this Court has personal jurisdiction over Glenmark pursuant to Federal Rule of Civil

Procedure 4(k)(2) because Glenmark has extensive contacts with the United States, including but

not limited to the above-described commercial contract, is not subject to jurisdiction in any

particular state, and exercising jurisdiction over Glenmark is consistent with the laws of the United

States and the United States Constitution.

        15.        Venue is proper as to Glenmark because it is a foreign defendant and can be sued

in any district.

                                          THE PATENTS-IN-SUIT

        16.        On December 3, 2002, the ’962 Patent entitled “Tablet Shapes To Enhance Gastric

Retention of Swellable Controlled-Release Oral Dosage Forms” was duly and legally issued. The

named inventors of the ’962 Patent are Bret Berner and Jenny Louie-Helm. The FDA’s Electronic

Orange Book, Approved Drug Products with Therapeutic Equivalence Evaluations (“Orange

Book”) lists the expiration of the ’962 Patent as June 20, 2020. (A copy of the ’962 Patent is

attached as Exhibit 1.)

        17.        On April 20, 2004, the ’340 Patent entitled “Optimal Polymer Mixtures for Gastric

Retentive Tablets” was dully and legally issued. The named inventors of the ’340 Patent are Gloria

Gusler, Bret Berner, Mei Chau, and Aimee Padua. According to the Orange Book the expiration

date of the ’340 Patent is October 25, 2021. (A copy of the ’340 Patent is attached as Exhibit 2.)




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       18.       Assertio is the assignee of the ’962 Patent and ’340 Patent.

       19.       On August 4, 2010, the ’987 Patent entitled “Controlled Release Dosage Forms”

was dully and legally issued. The named inventors of the ‘987 Patent are Fang Zhou and Paul

Maes. According to the Orange Book the ’987 Patent expires on March 23, 2025. (A copy of the

’987 Patent is attached as Exhibit 3.)

       20.       On December 4, 2012, the ’692 Patent entitled “Controlled Release Dosage Forms”

was dully and legally issued. The inventor of the ’692 Patent is Steven Frisbee. According to the

Orange Book the ’692 Patent expires on March 30, 2023. (A copy of the ’692 Patent is attached

as Exhibit 4.)

       21.       Bausch Ireland is the assignee of the ‘987 Patent and the ’692 Patent.

                           ACTS GIVING RISE TO THIS ACTION

       22.       Santarus Inc. holds the approved New Drug Application No. 21748 for Glumetza®

500 mg and 1 gm dosage strengths.

       23.       Pursuant to 21 U.S.C. § 355(b)(1), the ’962 Patent and ’340 Patent are listed in

Orange Book for Glumetza® 500 mg and the ’987 Patent and the ’692 Patent are listed in the

Orange Book for Glumetza® 1 gm.

       24.       On information and belief, Glenmark submitted the Glenmark ANDA to the FDA

seeking approval to engage in the commercial manufacture, use or sale of the Glenmark 500 mg

product and Glenmark 1000 mg Product, herein collectively referred to as the “Glenmark ANDA

Products.”

       25.       Plaintiffs received from Glenmark a letter, dated March 18, 2019, (the “Glenmark

Notice Letter”), stating that Glenmark had included a certification in the Glenmark ANDA,

pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV), that the ’962, ’340, ’987 and ’692 Patents are




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invalid, or will not be infringed by the commercial manufacture, use, or sale of the Glenmark

ANDA Products (the “Paragraph IV Certification”).

       26.     The Glenmark ANDA refers to and relies upon the Glumetza® NDA and contains

data that, according to Glenmark, demonstrate the bioequivalence of the Glenmark ANDA

Products and Glumetza®.

       27.     This action was commenced by Plaintiffs within 45 days of the date of receipt of

the Glenmark Notice Letter.

                                    CLAIMS FOR RELIEF
                                          COUNT I
                               (Infringement of the ’962 Patent )

       28.     Plaintiffs reallege and incorporate by reference the allegations contained in the

preceding paragraphs.

       29.     On information and belief, Glenmark has infringed at least one claim of the ’962

Patent, pursuant to 35 U.S.C. § 271(e)(2)(A), by submitting the Glenmark ANDA, by which

Glenmark seeks approval from the FDA to engage in the commercial manufacture, use, offer to

sell, sale within the United States, or importation into the United States of the Glenmark ANDA

Products prior to the expiration of the ’962 Patent.

       30.     Moreover, if Glenmark manufactures, uses, sells, offers for sale, or imports into the

United States, the Glenmark ANDA Products, or induces or contributes to any such conduct, prior

to the expiration of the ’962 Patent, including any applicable exclusivities or extensions, Glenmark

would further infringe (either literally or under the doctrine of equivalents) at least one claim of

the ’962 Patent under 35 U.S.C. § 271(a), (b), and/or (c).

       31.     Plaintiffs are entitled to the relief provided by 35 U.S.C. § 271(e)(4), including an

order of this Court that the effective date of the approval of the Glenmark ANDA be a date that is




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not earlier than the expiration of the term of the ’962 Patent, including any extension(s) granted

by the U.S. Patent and Trademark Office (“PTO”) pursuant to 35 U.S.C. §§ 154 or 156, or any late

expiration of exclusivity for the ’962 Patent to which Plaintiffs are or become entitled.

       32.     Plaintiffs will be substantially and irreparably harmed if Glenmark is not enjoined

from infringing the ’962 Patent.

       33.     Plaintiffs have no adequate remedy at law.

       34.     This case is exceptional, and Plaintiffs are entitled to an award of attorneys’ fees

under 35 U.S.C. § 285.

                                          COUNT II
                                (Infringement of the ’340 Patent)

       35.     Plaintiffs reallege and incorporate by reference the allegations contained in the

preceding paragraphs.

       36.     On information and belief, Glenmark has infringed at least one claim of the ’340

Patent, pursuant to 35 U.S.C. § 271(e)(2)(A), by submitting the Glenmark ANDA, by which

Glenmark seeks approval from the FDA to engage in the commercial manufacture, use, offer to

sell, sale within the United States, or importation into the United States of the Glenmark ANDA

Products prior to the expiration of the ’340 Patent.

       37.     Moreover, if Glenmark manufactures, uses, sells, offers for sale, or imports into the

United States, the Glenmark ANDA Products, or induces or contributes to any such conduct, prior

to the expiration of the ’340 Patent, including any applicable exclusivities or extensions, Glenmark

would further infringe (either literally or under the doctrine of equivalents) at least one claim of

the ’340 Patent under 35 U.S.C. § 271(a), (b), and/or (c).

       38.     Plaintiffs are entitled to the relief provided by 35 U.S.C. § 271(e)(4), including an

order of this Court that the effective date of the approval of the Glenmark ANDA be a date that is



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not earlier than the expiration of the term of the ’340 Patent, including any extension(s) granted

by the PTO pursuant to 35 U.S.C. §§ 154 or 156, or any late expiration of exclusivity for the ’340

Patent to which Plaintiffs are or become entitled.

       39.     Plaintiffs will be substantially and irreparably harmed if Glenmark is not enjoined

from infringing the ’340 Patent.

       40.     Plaintiffs have no adequate remedy at law.

       41.     This case is exceptional, and Plaintiffs are entitled to an award of attorneys’ fees

under 35 U.S.C. § 285.

                                            COUNT III
                                   (Infringement the ’987 Patent)

       42.     Plaintiffs reallege and incorporate by reference the allegations contained in the

preceding paragraphs.

       43.     On information and belief, Glenmark has infringed at least one claim of the ’987

Patent, pursuant to 35 U.S.C. § 271(e)(2)(A), by submitting the Glenmark ANDA, by which

Glenmark seeks approval from the FDA to engage in the commercial manufacture, use, offer to

sell, sale within the United States, or importation into the United States of the Glenmark ANDA

Products prior to the expiration of the ’987 Patent.

       44.     Moreover, if Glenmark manufactures, uses, sells, offers for sale, or imports into the

United States, the Glenmark ANDA Products, or induces or contributes to any such conduct, prior

to the expiration of the ’987 Patent, including any applicable exclusivities or extensions, Glenmark

would further infringe (either literally or under the doctrine of equivalents) at least one claim of

the ’987 Patent under 35 U.S.C. § 271(a), (b), and/or (c).

       45.     Plaintiffs are entitled to the relief provided by 35 U.S.C. § 271(e)(4), including an

order of this Court that the effective date of the approval of the Glenmark ANDA be a date that is



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not earlier than the expiration of the term of the ’987 Patent, including any extension(s) granted

by the PTO pursuant to 35 U.S.C. §§ 154 or 156, or any late expiration of exclusivity for the ’987

Patent to which Plaintiffs are or become entitled.

       46.     Plaintiffs will be substantially and irreparably harmed if Glenmark is not enjoined

from infringing the ’987 Patent.

       47.     Plaintiffs have no adequate remedy at law.

       48.     This case is exceptional, and Plaintiffs are entitled to an award of attorneys’ fees

under 35 U.S.C. § 285.

                                          COUNT IV
                                (Infringement of the ’692 Patent)

       49.     Plaintiffs reallege and incorporate by reference the allegations contained in the

preceding paragraphs.

       50.     On information and belief, Glenmark has infringed at least one claim of the ’692

Patent, pursuant to 35 U.S.C. § 271(e)(2)(A), by submitting the Glenmark ANDA, by which

Glenmark seeks approval from the FDA to engage in the commercial manufacture, use, offer to

sell, sale within the United States, or importation into the United States of the Glenmark ANDA

Products prior to the expiration of the ’692 Patent.

       51.     Moreover, if Glenmark manufactures, uses, sells, offers for sale, or imports into the

United States, the Glenmark ANDA Products, or induces or contributes to any such conduct, prior

to the expiration of the ’692 Patent, including any applicable exclusivities or extensions, Glenmark

would further infringe (either literally or under the doctrine of equivalents) at least one claim of

the ’692 Patent under 35 U.S.C. § 271(a), (b), and/or (c).

       52.     Plaintiffs are entitled to the relief provided by 35 U.S.C. § 271(e)(4), including an

order of this Court that the effective date of the approval of the Glenmark ANDA be a date that is



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not earlier than the expiration of the term of the ’692 Patent, including any extension(s) granted

by the PTO pursuant to 35 U.S.C. §§ 154 or 156, or any late expiration of exclusivity for the ’692

Patent to which Plaintiffs are or become entitled.

       53.     Plaintiffs will be substantially and irreparably harmed if Glenmark is not enjoined

from infringing the ’692 Patent.

       54.     Plaintiffs have no adequate remedy at law.

       55.     This case is exceptional, and Plaintiffs are entitled to an award of attorneys’ fees

under 35 U.S.C. § 285.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs seek relief as follows:

       1.      A judgment that Glenmark has infringed one or more valid claims of the ’962, ’340,

’987 and ’692 Patents by submitting or causing to be submitted the Glenmark ANDA to the FDA

to obtain approval for the commercial manufacture, use, import, offer for sale, and/or sale in the

United States of the Glenmark ANDA Products before the expiration of the Patents-in-Suit;

       2.      A judgment pursuant to 35 U.S.C. § 271(e)(4)(B) for a preliminary and permanent

injunction enjoining Glenmark, its officers, agents, servants, employees, and those persons acting

in active concert or participation with all or any of them from manufacturing, using, offering to

sell, or selling the Glenmark ANDA Products within the United States, or importing the Glenmark

ANDA Products into the United States, prior to the expiration of the Patents-in-Suit;

       3.      A judgment ordering that pursuant to 35 U.S.C. § 271(e)(4)(A), the effective date

of any approval of the Glenmark ANDA under § 505(j) of the Federal Food, Drug and Cosmetic

Act (21 U.S.C. § 355(j)) shall not be earlier than the latest of the expiration dates of the ’962, ’340,

’987 and/or ’692 Patents, including any extensions;




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       4.      A judgment declaring and enjoining Glenmark, its officers, agents, servants,

employees, and those persons acting in active concert or participation with all or any of them from

manufacturing, using, offering to sell, or selling the Glenmark ANDA Products and any other

product that infringes or induces or contributes to the infringement of one or more claims of the

Patents-in-Suit prior to their expiration, including any exclusivities or extensions to which

Plaintiffs are or become entitled;

       5.      That Plaintiffs be awarded damages for their costs, disbursements, expert witness

fees, and attorneys’ fees and costs incurred in prosecution this action, for an exceptional case

pursuant to 35 U.S.C. § 285 and as otherwise provided by law; and

       6.       Such other and further relief as the Court deems just and appropriate.


Dated: May 1, 2019                           Respectfully submitted,
       Newark, New Jersey

                                             s/ William P. Deni, Jr.
                                             William P. Deni, Jr.
                                             Charles H. Chevalier
                                             J. Brugh Lower
                                             GIBBONS P.C.
                                             One Gateway Center
                                             Newark, New Jersey 07102
                                             Tel: (973) 596-4500
                                             Fax: (973) 596-0545
                                             wdeni@gibbonslaw.com
                                             cchevalier@gibbonslaw.com
                                             jlower@gibbonslaw.com

                                             Attorneys for Plaintiffs

 OF COUNSEL:

 Thomas P. Steindler (pro hac vice to be submitted)
 MCDERMOTT WILL & EMERY LLP
 500 North Capitol Street N.W.
 Washington, D.C. 20001
 (202) 756-8000



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Sami Sedghani (pro hac vice to be submitted)
MCDERMOTT WILL & EMERY LLP
415 Mission Street, Suite 5600
San Francisco, CA 94105-2533
(628) 218-3908




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                       CERTIFICATION OF NON-ARBITRABILITY
                       PURSUANT TO LOCAL CIVIL RULE 201.1(d)


       Pursuant to Local Civil Rule 201.1(d), the undersigned counsel hereby certifies that this

action seeks declaratory and injunctive relief and, therefore, is not subject to mandatory arbitration.

       I certify under penalty of perjury that the foregoing is true and correct.


Dated: May 1, 2019                             s/ William P. Deni, Jr.
       Newark, New Jersey                      William P. Deni, Jr.
                                               GIBBONS P.C.
                                               One Gateway Center
                                               Newark, New Jersey 07102
                                               Tel: (973) 596-4500
                                               Fax: (973) 596-0545
                                               wdeni@gibbonslaw.com

                                               Attorneys for Plaintiffs




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